 Case: 1:19-cr-00322 Document #: 175 Filed: 12/14/21 Page 1 of 1 PageID #:2058

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00322
                                                         Honorable Robert M. Dow Jr.
Charles Cui, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 14, 2021:


       MINUTE entry before the Honorable Robert M. Dow, Jr as to Charles Cui,
Edward M. Burke, and Peter J. Andrews: Telephone conference held. By 1/17/2021,
counsel to send an email to the Courtroom Deputy as to their unavailable dates for the 1−2
hour oral argument hearing on the pending motions, beginning 2/1/2022 to 2/18/2022.
Without objection, time is excluded until the date of the oral argument hearing (to be
determined) under the Speedy Trial Act, 18 U.S.C. 3161(h)(7)(A). Emailed notice (cdh, )




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